

Weinstein v W.W.W. Assoc., LLC (2021 NY Slip Op 00536)





Weinstein v W.W.W. Assoc., LLC


2021 NY Slip Op 00536


Decided on February 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2021

Before: Renwick, J.P., Webber, González, Scarpulla, JJ. 


Index No. 652365/14 Appeal No. 13005 Case No. 2020-02733 

[*1]Jeffrey Weinstein Individually and Derivatively on Behalf of W.W.W. Associates, LLC, Plaintiff-Respondent,
vW.W.W. Associates, LLC, et al., Defendants-Appellants, Barbara Weinstein et al., Defendants.


Michael B. Schulman &amp; Associates, P.C., Melville (Michael B. Schulman of counsel), for appellants.
Borah, Goldstein, Altschuler, Nahins &amp; Goidel PC, New York (Paul N. Gruber of counsel), for respondent.



Order, Supreme Court, New York County (Jennifer G. Schecter, J.), entered May 12, 2020, which sustained plaintiff's objections to the unanswered demands in defendants' demand for a bill of particulars, and denied defendants' request to compel plaintiff to respond fully to their demand for a bill of particulars, unanimously affirmed, with costs.
The court providently exercised its discretion in sustaining plaintiff's objections to defendants' unanswered bill of particulars demands where the detailed allegations in plaintiff's amended complaint had already pleaded, with requisite specificity (see  CPLR 3016), the nature and extent of plaintiff's claims for breach of fiduciary duty as against the individual defendants, as well as plaintiff's claims for an accounting and the appointment of a receiver. Plaintiff's factual allegations in his amended complaint provide adequate notice of the claims asserted against defendants, and further amplification of such pleadings is unwarranted (see Northway Eng'g v Felix Indus.,  77 NY2d 332, 335-336 [1991]; Arroyo v Fourteen Estusia Corp.,  194 AD2d 309 [1st Dept 1993]).
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2021








